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1                                UNITED STATES DISTRICT COURT
2                                        DISTRICT OF NEVADA
3                                                  ***
4     NATHANIEL SHAPIRO,                               Case No. 2:17-cv-3033-APG-CWH
5                             Plaintiff(s),            ORDER DISMISSING DEFENDANTS
                                                       VINCE KELVIN, BAO THAI VU and LOS
6                    v.                                ANGELES SELF-EMPOWERMENT
7     CABLE NEWS NETWORK, INC., et al.,                CENTER

8                             Defendant(s).            (ECF No. 9)
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11          On March 13, 2018, the plaintiff was advised by the court (ECF No. 9) that this action

12   would be dismissed without prejudice unless by April 12, 2018, the plaintiff filed proper proof of

13   service on defendants or showed good cause why such service was not timely made. On April 10,

14   some but not all of the defendants made appearances in the case and were given extra time to

15   respond to the complaint. ECF Nos. 12, 13. But the plaintiff has failed to file proof of service on

16   defendants Vince Kelvin, Bao Thai Vu, and Los Angeles Self-Empowerment Center. The plaintiff

17   has not shown good cause for failing to serve those defendants and not shown good cause why this

18   action should not be dismissed as to those defendants.

19          IT IS THEREFORE ORDERED that this action is DISMISSED without prejudice as

20   to defendants Vince Kelvin, Bao Thai Vu, and Los Angeles Self-Empowerment Center, only.

21          Dated: April 16, 2018.

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                                                         ANDREW P. GORDON
23                                                       UNITED STATES DISTRICT JUDGE
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